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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

ERROL L. SCOTT                                                        PETITIONER

V.                                     4:05CR0004-4
                                       4:08CV00277

UNITED STATES OF AMERICA                                              RESPONDENT


                                              ORDER

       On January 4, 2005, a Grand Jury sitting in the Eastern District of Arkansas indicted

Petitioner on two counts. The first count charged the Petitioner with armed bank robbery in

violation of 18 U.S.C. §2113(a) and (d) and the second count with brandishing a firearm during

and in relation to a crime of violence in violation of 18 U.S.C. §924(c). On August 9, 2005, the

Petitioner pled guilty to a three count Superseding Information as part of a plea agreement. In

addition to pleading guilty to Count One of aiding and abetting in an armed bank robbery,

Petitioner pled guilty to Count Three of being a felon in possession of a firearm in violation of 18

U.S.C. §922(g)(1). Count Two was subsequently dismissed.

       On March 24, 2006, the Court sentenced the Petitioner to a term of imprisonment on

Count One of 120 months and a term of imprisonment on Count Three of 120 months, to be

served concurrently. The Petitioner appealed his sentence to the Eighth Circuit Court of Appeals

alleging that the District Court erred in failing to grant a departure pursuant to U.S.S.G.

§4A1.3(b) and that the resulting sentence was unreasonable.

       In United States v. Scott, 220 Fed. Appx. 440 (8th Cir. 2007), the Eighth Circuit affirmed

the Petitioner’s sentence. The Court held that Scott’s claim of erroneous failure to depart was

unreviewable on appeal. The Court also determined that Scott’s 120 month sentence, on the low
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end of his advisory Guidelines range, was not unreasonable. The Petitioner filed a petition for

certiorari to the United States Supreme Court which was denied on January 7, 2008. Scott v.

United States, 128 S. Ct. 929 (2008).

       Currently pending before the Court is Petitioner’s motion filed pursuant to 28 U.S.C. §

2255 arguing (1) ineffective assistance of counsel because counsel failed to object to the

Petitioner’s assigned criminal history category of VI and by failing to amend Petitioner’s appeal

following enactment of Amendment 709; and (2) the Petitioner’s criminal history should be

recalculated based on amended Guideline §4A1.2(a)(2) and without such recalculation, his

sentence is illegal in violation of the Fifth Amendment.

       Petitioner’s grounds for relief in his motion under §2255 are centered on the alleged

applicability of Amendment 709 to Petitioner’s case. Amendment 709 became effective

November 1, 2007. Petitioner argues that the amendment is clarifying, thus, should be given

retroactive treatment. U.S.S.G. §1B1.11 requires the Court to use the Guidelines Manual in

effect on the date the defendant is sentenced. The Eighth Circuit has stated that insofar as a

post-sentence amendment is clarifying, rather than substantive, the Court may rely on it in

interpreting the unamended Guideline. United States v. Renfrew, 957 F.2d 525, 527 (8th

Cir.1992).

       The Third, Ninth, Seventh and First Circuit Courts of Appeals have each held that

Amendment 709 is substantive, rather than clarifying and thus does not apply retroactively. See

United States v. Marler, 527 F.3d 874 (9th Cir. 2008) (stating on direct appeal that “[t]he 2007

amendment accordingly was a substantive change, not a clarifying change, and does not apply

retroactively.”) (citing United States v. Wood, 526 F.3d 82 (3d Cir. 2008) (holding that “the


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amended version of § 4A1.2(a)(2) effects a substantive change” and therefore did not apply

retroactively) and United States v. Godin, 522 F.3d 133, 135 (1st Cir.2008) (holding that

Amendment 709 was substantive); United States v. Alexander, 2009 WL 140506 (7th Cir. Jan. 22,

2009)(“Amendment 709 changed the guideline rather than merely clarifying it.”).

       This Court agrees with these Courts and finds that Amendment 709 is substantive rather

than clarifying and may not be applied retroactively. Accordingly, Petitioner’s argument that his

criminal history should be recalculated and without such recalculation his sentence is illegal in

violation of the Fifth Amendment is without merit.

       To obtain relief on his ineffective assistance of counsel claim, Petitioner must show both

that his counsel's performance fell below an objective standard of reasonableness and that this

deficient performance prejudiced his defense. See Strickland v. Washington, 466 U.S. 668,

687-88 (1984); Hill v. Lockhart, 474 U.S. 52, 58-59 (1985).      To establish ineffective assistance

of counsel under Strickland v. Washington, 466 U.S. 668, 104 S.Ct. 2052, 80 L.Ed.2d 674

(1984), Petitioner must prove that his attorney’s performance was deficient, overcoming the

strong presumption that defense counsel's representation fell "within the wide range of

reasonable professional assistance." Id. at 689, 104 S.Ct. 2052. In the context of a guilty plea,

Petitioner must also establish that “there is a reasonable probability that but for counsel's errors,

the defendant would not have pleaded guilty but would have proceeded to trial.” United States v.

Davis, 508 F.3d 461, 463 (8th Cir.2007).

       Petitioner argues that his counsel was ineffective for failing to object to a criminal history

category of VI based on Petitioner’s previous criminal convictions. The sentencing transcript

demonstrates that Petitioner’s counsel did object to several aspects of the original presentence


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report. Specifically, Petitioner’s counsel objected to paragraphs 43, 44, 47 and 48 of the

presentence report which represented charges for possession and for failure to appear.

Petitioner’s counsel argued that the possession and subsequent charge for failure to appear should

be counted together, rather than separately, resulting in a lesser criminal history category. These

objections were overruled. (Sent. Tr. 7-10). Petitioner’s counsel also moved for a downward

departure arguing that the Petitioner’s criminal history was overstated. (Sent. Tr. 7). The Court

considered Petitioner’s arguments, denied the motion but sentenced the Petitioner at the low end

of the advisory range in part “because of the arguments made about [Petitioner’s] criminal

history.” (Sent. Tr. 17).

       Petitioner fails to state any facts which would support his assertion that he had ineffective

assistance of counsel. Petitioner’s counsel objected to the criminal history calculation during

sentencing and on appeal argued that the Court erred in the application of the Petitioner’s

criminal history under the Sentencing Guidelines and the resulting sentence was unreasonable.

The Eighth Circuit Court of Appeals examined the evidence and affirmed the sentence. Claims

that the Petitioner raised and the Court decided on direct appeal cannot be re-litigated in a 28

U.S.C. §2255 motions. Dall v. United States, 957 F. 2d 571, 572 (8th Cir. 1992).       Even if the

Court determined that Petitioner was not procedurally barred from raising these claims, Petitioner

has failed to show that his counsel’s representation fell below an objective standard of

reasonableness and that there is a reasonable probability that but for counsel's errors, the

defendant would not have pleaded guilty but would have proceeded to trial.

       Because Amendment 709 is not applicable to Petitioner’s case, Petitioner suffered no

prejudice based upon his counsel’s failure to raise this issue on appeal.   The Court finds that


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Petitioner has not met the stringent requirements of proving ineffective assistance of counsel.

        Petitioner is not entitled to an evidentiary hearing if the allegations in his motion, the

files, and the records of the case, "accepted as true, would not entitle [him] to relief, or ... the

allegations cannot be accepted as true because they are contradicted by the record, inherently

incredible, or conclusions rather than statements of fact." Engelen v. United States, 68 F.3d 238,

240 (8th Cir. 1995). A "claim may be dismissed without an evidentiary hearing if the claim is

inadequate on its face or if the record affirmatively refutes the factual assertions upon which it is

based. " Shaw v. United States, 24 F.3d 1040, 1043 (8th Cir.1994). Based upon the record, the

Court finds that Petitioner is not entitled to an evidentiary hearing and his arguments fail for the

reasons set forth herein.

        For the reasons stated above, Petitioner’s Motion to Vacate, Set Aside, or Correct

Sentence pursuant to 28 U.S.C. § 2255,(docket #144), is denied .

        IT IS SO ORDERED this 26th day of January, 2009.




                                                        James M. Moody
                                                        United States District Judge




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